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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ALARIC STONE, ERIC JACKSON, and                         )
MICHAEL MARCENELLE. on behalf of                        )
themselves and all others similarly situated,          )
                                                       )       Case No. 4:22-cv-00825-P
                        Plaintiffs,                    )
V.                                                     )
                                                       )
ALEJANDRO N. MA YORKAS, in his official                )
capacity as Secretary of Homeland Security,            )
LLOYD J. AUSTIN, III, in his                           )
official capacity as Secretary of Defense,             )
LINDA L. FAGAN, in her official                        )
capacity as Commandant of the Coast Guard, and         )
BRIAN K. PENOYER, in his official capacity             )
as Assistant Commandant for Human                      )
Resources of the Coast Guard,                          )
                                                       )
                        Defendants.                    )


      FIRST SUPPLEMENTAL DECLARATION OF LIEUTENANT JUNIOR GRADE
                         MICHAEL MARCENELLE

Pursuant to 28 U.S.C. § 1746, I, Michael Marcenelle, under penalty of perjury declare as follows:

         I.      I am over the age of eighteen and I am competent to make this declaration.

         2.      I have never lived, resided, or been stationed in the Southern District of Texas or

the Middle District of Florida.

         3.     I have never consented to this action being in the U.S. District Court for the

Southern District of Texas or the U.S. District Court for the Middle District of Florida.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

October 9, 2022.


                                        Michael Marcenelle



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